Case 1:18-cv-02192-HG-PK              Document 1          Filed 04/13/18       Page 1 of 54 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
____________________________________
AHARON MILLER, HADASSAH DINER, :
EFRAT FINE, ADINA MISHER,           :                      Case No. 18-cv-2192
ADINA MISHER ON BEHALF OF THE :
ESTATE OF AARON HAAR,                :
                                     :                     COMPLAINT
                  Plaintiffs,        :
                                     :
      -against-                      :
                                     :
ARAB BANK, PLC,                     :
                                     :
                  Defendant.         :
____________________________________


        Plaintiffs Aharon Miller, Hadassah Diner, Efrat Fine, Adina Misher, and Adina Misher on

behalf of the Estate of Aaron Haar, by their attorneys, allege the following.

                                     NATURE OF THE ACTION

        1.      This is a complaint for damages arising out of the unlawful conduct of Arab Bank,

PLC (“Arab Bank”) – a Jordanian bank headquartered in Amman, Jordan with a federal agency1

in the State of New York. Arab Bank knowingly provided, distributed, and administered financial

benefits, money and financial services to: (a) terrorists who killed, injured and maimed civilians,

or attempted to do so; (b) the families and beneficiaries of such terrorists; and (c) Foreign Terrorist

Organizations (as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism and Effective Death

Penalty Act of 1996 (“AEDPA”)) in order to facilitate acts of international terrorism as defined by

18 U.S.C. § 2331.

        2.      By these acts, Defendant Arab Bank aided and abetted said acts of international



1
         Until 2005, Arab Bank operated a wholly-owned branch in New York that provided correspondent banking
services to other Arab Bank branches located around the world including branches in the West Bank and the Gaza
Strip (collectively: the “Palestinian Territories”).


                                                      1
Case 1:18-cv-02192-HG-PK                Document 1           Filed 04/13/18         Page 2 of 54 PageID #: 2




terrorism, resulting in the killing, attempted killing and maiming of scores of American citizens in

Israel between September 2000 and December 2004 during the Second Intifada,2 including the

family members of the Plaintiffs, and violated the prohibitions on providing material support for

acts of international terrorism set forth in the Anti-Terrorism Act (“ATA”) as amended by the

AEDPA (see, e.g., 18 U.S.C. §§ 2339A, 2339B) and is civilly liable under § 2333 of the ATA to

those American citizens (and their estates, survivors and heirs) who have been killed or injured in

their person, property or business by reason of such acts of international terrorism.

                                      JURISDICTION AND VENUE

        3.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 18 U.S.C. §§ 2333 and 2334, as a civil action brought by citizens of the United States,

their estates, survivors, and heirs who have been killed or injured by reason of acts of international

terrorism.

        4.       Venue is proper in this District pursuant to 18 U.S.C. § 2334(a).

        5.       Arab Bank is subject to personal jurisdiction in the State of New York pursuant to

18 U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2). because it has transacted

business and committed tortious acts within the United States by transferring funds through the

United States for the benefit of the Foreign Terrorist Organization (“FTO”) Islamic Resistance

Movement (“HAMAS”), and other terrorist organizations and has purposefully availed itself of

United States jurisdiction in the course of committing the wrongful acts alleged herein.




2
         The Second Intifada refers to the violent conflict that broke out in September 2000 between the Palestinians
and Israel. It is generally considered to have ended in December 2004.


                                                         2
Case 1:18-cv-02192-HG-PK           Document 1         Filed 04/13/18    Page 3 of 54 PageID #: 3




                                          THE PARTIES

A.      The Plaintiffs

              THE BEN YEHUDA STREET BOMBINGS OF DECEMBER 1, 2001

        6.      In the late evening of December 1, 2001, two HAMAS suicide bombers, Nabil

Halabiya and Osama Bahar, blew themselves up in a pedestrian mall in Jerusalem as part of a

coordinated double suicide bombing. A large quantity of nails was packed with each of the bombs.

Eleven (11) people were murdered and one hundred and eighty-eight (188) people were injured.

        7.      Bahar had been recruited by Jamal al-Tawil, the chairman of the Al-Islah Charitable

Society since 2000.

        8.      The Al-Islah Charitable Society was one of HAMAS’s key charitable front

organizations in the West Bank during the relevant period, between 2000 and 2004.

        9.      It also maintained accounts with Arab Bank.

        10.     Halabiya received a “prisoner payment” from the Saudi Committee in Support of

the Intifada Al Quds (hereinafter referred to as the “Saudi Committee”) before the attack and a

“martyr payment” after the attack. Both were paid through Arab Bank.

        11.     Halabiya’s mother also received an Iranian sponsored “martyr” payment from the

Shahid Foundation in Lebanon (discussed below) via Arab Bank.

        12.     After the two suicide bombings, HAMAS terrorists detonated a car bomb near the

site of the first two attacks.

The Miller Family

        13.     Plaintiff Aharon Miller is a citizen of the United States and a resident of the State

of Israel. He is the brother of Netanel Miller.




                                                  3
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18     Page 4 of 54 PageID #: 4




       14.     Netanel Miller, a United States citizen, was with friends enjoying ice cream at the

pedestrian mall in Jerusalem when one of the HAMAS suicide bombers detonated his explosives

a few feet from him. Netanel had his back to the bomber, and he was thrown to the ground as a

result of the explosion.

       15.     A bolt from the bomb lodged in the upper part of Netanel’s leg. Other bolts hit him

in the back, resulting in burns. His hand and knee were also injured.

       16.     Netanel, in shock and unaware of the severity of his injuries, attempted to walk

home, limping on his injured leg. After walking approximately 30 feet, Netanel collapsed on the

sidewalk. Only then did Netanel become aware of how much he was bleeding from the wounds he

had sustained in his leg. His attempts to use pressure to stop the bleeding were unsuccessful.

       17.     Some people stopped to help him, and Netanel handed them his cellular phone,

asking them to call his parents, Arie and Chaya Miller. Netanel spoke to his father, who had been

an Army medic. Arie asked Netanel specific questions about his condition and insisted Netanel

seek medical help.

       18.     Ultimately, Netanel was taken to the Shaare Zedek Hospital by ambulance. Since

Netanel had lost a great deal of blood, he was given a blood transfusion.

       19.     Arie came to the hospital. Chaya arrived an hour or so later after she found someone

to stay with her other children at her home.

       20.     Netanel was admitted to the hospital and remained there for two days.

       21.     Netanel endured the pain in his leg for nearly two years.

       22.     The pain in Netanel’s leg became so severe that he had to undergo surgery, and the

bolt that was still lodged in his leg was finally removed.




                                                 4
Case 1:18-cv-02192-HG-PK             Document 1        Filed 04/13/18     Page 5 of 54 PageID #: 5




        23.     Netanel had flashbacks as a result of the attack and underwent psychological

counseling.

        24.     As a result of the attack, Plaintiff Aharon Miller has suffered severe mental anguish

and extreme emotional pain and suffering.

       THE KARNEI SHOMRON PIZZERIA BOMBING OF FEBRUARY 16, 2002

        25.     Three (3) teenagers were killed and twenty-eight (28) other people injured, six

seriously, when a suicide bomber blew himself up next to a crowded pizzeria on Saturday night,

February 16, 2002 in the Yovelim shopping mall in Karnei Shomron. Two of the teenagers

murdered and several of the injured were U.S. citizens.

        26.     The terrorist was an operative of one of the paramilitary factions of the Palestine

Liberation Organization (“PLO”), later identified as Sadiq A’id Mahmud Abd al-Hafez.

        27.     Al-Hafez’s father received a “martyr payment” from the Saudi Committee through

his account at Arab Bank in Qalqilya.

The Trattner Family

        28.     Plaintiff Hadassah Diner is a citizen of the United States and a resident of the State

of Israel. She is the sister of Hillel Trattner.

        29.     Plaintiff Efrat Fine is a citizen of the United States and a resident of the State of

Israel. She is the sister of Hillel Trattner.

        30.     Hillel Trattner, a United States citizen, and his wife Ronit Trattner stopped to eat at

the pizzeria in the Yovelim shopping mall when the terrorist detonated his explosives.

        31.     As a result of the explosion, Hillel Trattner was struck in the head by shrapnel and

sustained nerve damage to his left eye. His left eardrum was ruptured, requiring Hillel to undergo

an operation on that ear. The surgery was only partially successful, and he continues to suffer from




                                                   5
Case 1:18-cv-02192-HG-PK           Document 1         Filed 04/13/18     Page 6 of 54 PageID #: 6




hearing loss in his left ear. Hillel further suffered from an impairment of his speech for a period of

time.

        32.    To this day, shrapnel remains lodged in Hillel’s brain and it remains unclear

whether the shrapnel will cause further injury to him in the future.

        33.    The heat of the blast burned his face and hands. He sustained nerve damage to his

fingers and the sole of his foot. Shrapnel remains lodged in his right hand and was removed from

his ankle.

        34.    After the attack, Hillel was taken to the hospital where he remained for ten days

before being transferred to a rehabilitation center. But after a bad reaction to the prescribed

medication, he returned to the hospital for an additional two weeks before returning to the

rehabilitation center for nearly three months. Hillel’s reaction to the medication also caused serious

liver damage, requiring him to spend a week in the intensive care unit. He also underwent physical

therapy throughout this time.

        35.    Hillel no longer has vision in his left eye. He continues to have his eye examined

every three months to determine if the damage has spread to his right eye.

        36.    The effects of the attack have been very traumatic for Hillel, and he underwent

psychological counseling.

        37.    As a result of the attack, Plaintiffs Hadassah Diner and Efrat Fine have suffered

severe mental anguish and extreme emotional pain and suffering.

                   THE JERUSALEM BOMBING OF JANUARY 27, 2002

        38.    On January 27, 2002, Wafa Ali Khalil Idris, a female suicide bomber dispatched by

Fatah / AAMB, detonated her explosive belt on Jaffa Street in Jerusalem, killing one (1) man and

injuring approximately one hundred and fifty (150) others. Idris was the first female suicide




                                                  6
Case 1:18-cv-02192-HG-PK          Document 1         Filed 04/13/18    Page 7 of 54 PageID #: 7




bomber of the Second Intifada.

The Sokolow Family

       39.     Aaron Haar was a citizen of the United States. Aaron Haar passed away on May

28, 2015. He was the father of Rena Sokolow.

       40.     Plaintiff Adina Misher is a citizen of the United States, and a resident of the State

of New York and this District. She is the sister of Rena Sokolow.

       41.     Adina Misher brings this action both individually, and as the legal representative

of the Estate of Aaron Haar.

       42.     Mark Sokolow and Rena Sokolow, both United States citizens, were vacationing in

Israel where their oldest daughter was spending a year in school. On the last day of their trip,

January 27, 2002, the Sokolows and their two younger daughters walked to a shoe store near their

hotel. Upon exiting the store, they were knocked to the ground by a bomb blast.

       43.     Idris’s family received its payment from the Saudi Committee in the form of twenty

thousand (20,000) rials converted into five thousand three hundred and sixteen dollars and sixteen

cents ($5,316.16). The amount was paid to the family’s Arab Bank account in Ramallah Al-Bireh

Branch and designated with Receipt of Transfer No. 2195593712.

       44.     After the blast, Mark Sokolow gathered himself and began looking for his wife and

children. Eventually, he walked to the nearby hospital where he was treated for shrapnel injuries

and released the following day.

       45.     As a result of the blast, Mark sustained damage to his eardrum and a loss of hearing.

He required follow up surgery for a burst eardrum and still experiences ringing in his ears.

       46.     After the blast, Rena Sokolow gathered herself mentally and began looking around

for her husband and children. She saw instead Idris’ severed head.




                                                 7
Case 1:18-cv-02192-HG-PK            Document 1        Filed 04/13/18     Page 8 of 54 PageID #: 8




       47.       Rena could not move because of the severe injury to her leg and the agonizing pain.

She was hospitalized for ten (10) days and required extensive surgery to be able to walk again. For

the first five months following the attack, Rena could not put any weight on the leg. If she needed

to get around she would generally use a walker and hop. If she needed to do extensive walking she

would use a wheelchair. She required approximately six months to a year of physical therapy for

her leg.

       48.       Rena still cannot move her toes or ankle fully, has permanent nerve damage, and

experiences numbness in parts of her leg.

       49.       As a result of the attack, Plaintiff Adina Misher has suffered severe mental anguish

and extreme emotional pain and suffering.

       50.       As a result of the attack and prior to his death, Aaron Haar suffered severe mental

anguish and extreme emotional pain and suffering.

B.         The Defendant

       51.       Defendant Arab Bank is Jordanian bank headquartered in Amman, Jordan, the

common stock of which is publicly traded on the Amman Stock Exchange. Arab Bank owns,

controls and/or operates bank branches worldwide, including several branches that are situated in

Palestinian Authority (“PA”) controlled territories and, until 2005, a wholly-owned branch office

located at 520 Madison Avenue, New York, New York, that was regulated by the Controller of

the Currency of the United States Treasury Department.

       52.       Arab Bank conducts business in, and is registered to conduct business under, the

laws of the State of New York.

       53.       Arab Bank operated its federally chartered branch in New York since 1983. The

New York branch was designated as a wholesale bank, and among the banking and financial




                                                  8
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18     Page 9 of 54 PageID #: 9




services that it conducted in New York was providing clearing and correspondent bank services to

its foreign bank branch offices and affiliated banking institutions that are also owned and/or

controlled by the Arab Bank Group as well as other foreign banks.

       54.     In 2005, Arab Bank’s New York branch was converted to a federal agency

following an investigation by the United States Office of the Comptroller of the Currency and the

Financial Crimes Enforcement Network.

       55.     Arab Bank and Arab Bank Group were majority owned and/or controlled by

members of the Shoman family, including until his death in 2005, Abdul Majeed A.H. Shoman,

who was the Chairman of Arab Bank and Arab Bank Group. Abdel Hamid A.M. Shoman

succeeded his father as Chairman and Chief Executive Officer of Arab Bank and Arab Bank Group

upon the latter’s death and remained in that position until his resignation in 2012.

       56.     Mr. Shoman was succeeded by current Chairman Sabih al-Masri, who was

previously Deputy Chairman of Arab Bank.

       57.     In 2017, Mr. al-Masri led a group of Jordanian and Arab investors in buying the

approximately 20% stake of Arab Bank held by Oger Middle East Holding Company, which is

owned by the Lebanese Hariri family.

                                  FACTUAL ALLEGATIONS

       A.      The Al Aqsa Intifada or Intifada Al Quds

       58.     Following the collapse of peace negotiations at the presidential retreat at Camp

David in the summer of 2000, Palestinian terrorist organizations launched a broad-based terror

campaign against the State of Israel at the end of September 2000 that continued through December

2004 which was widely referred to as the Al Aqsa Intifada or Intifada Al Quds, and herein as the

Second Intifada.




                                                 9
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18      Page 10 of 54 PageID #: 10




        59.     During this period, various Palestinian terrorists attempted approximately 23,000

 attacks, which claimed more than 8,000 casualties, including over 1,000 civilian deaths.

        60.     These acts of violence resulted in the deaths of at least 30 U.S. citizens and caused

 serious bodily injury to scores of others.

        61.     The preferred method of mass murder used by Palestinian terrorist groups was

 suicide bombing, which involved an individual carrying an explosive device which he or she

 detonated in a bus, restaurant or other crowded public gathering place.

        62.     The device was typically packed with nails, bolts and ball bearings, which, when

 detonated, lodged themselves deep within the bodies of those unfortunate individuals who

 happened to be inside the blast radius, causing cruel and horrific injuries.

        63.     The objectives of the Second Intifada terror campaign included intimidating and

 coercing the civilian population of Israel and attempting to influence the policy of the Israeli

 Government by compelling Israel to withdraw from territory it presently controls.

        B.      Arab Bank’s Longstanding Commitment to Supporting Palestinian
                Terrorism

                1.      The Shoman Family

        64.     In 1984, the Shoman family published a biography of Mr. Abdulhameed Shoman

 (the Bank’s founder) entitled The Indomitable Arab, in which he consistently set forth his antipathy

 toward Jews, Zionists and the State of Israel. He also clearly described his abhorrence for the

 United States, which he claimed to have once admired until it supported Israel.

        65.     Prior to the establishment of Arab Bank, Mr. Shoman had described his great anger

 toward Zionists, Jews, and others whom he believed stood in the way of the growth of the Arab

 economy. In his biography he is quoted as saying that “…within a few years Zionism will have

 grown strong enough to control the entire economy. I believe that all business dealings with the



                                                  10
Case 1:18-cv-02192-HG-PK                 Document 1           Filed 04/13/18          Page 11 of 54 PageID #: 11




 Jews – buying, selling or banking transactions – are damaging to our country’s best interests.”

          66.      Mr. Shoman’s antipathy toward Jews, Zionists and the State of Israel is also

 reflected in Arab Bank’s Annual Reports. For example, in Arab Bank’s 1968 Annual Report, Mr.

 Shoman wrote in his letter to shareholders:

                   Nothing would have pleased me more than to be able to refer to the liberation
                   of the enemy-occupied territories of our Arab homeland. But unfortunately, the
                   Zionists still occupy the whole of our beloved Palestine as well as Sinai and
                   the Golan Heights; and our Moslem and Christian holy places continue to suffer
                   from enemy occupation. Moreover, the expansionist policy of the Zionists has
                   been unmasked and the Arabs now know that the Zionist danger threatens not
                   only the occupied territories but the entire Arab world. The only course open
                   to the Arabs, therefore, is to concert their efforts throughout the area extending
                   from the Atlantic Ocean in the west to the Arabian Gulf in the east, and to
                   sacrifice the lives and offer the money needed for their self-defence and for the
                   liberation of their sacred places and all their occupied territories.

          67.      In his final speech before four hundred employees of Arab Bank, Mr. Shoman also

 explained his hatred for Americans that had developed over the years:

                   I liked the Americans. I once bore their nationality, and gathered my fortune
                   in their country. But since they started to help the Zionists and supply them
                   with arms to fight us, I have come to detest them. It was not the Jews, but
                   the Americans, who fought us.

          68.      Mr. Shoman’s son, Abdul Majeed Shoman, succeeded him as the chairman of Arab

 Bank.

          69.      Abdul Majeed Shoman was the chairman of the Popular Committee in Support of

 the Palestinian Intifada, which was established during the First Intifada,3 in 1987-1988. The

 Popular Committee managed to raise approximately eight million Jordanian Dinar (JOD

 8,000,000) or approximately $11,000,000 for “martyrs’ families,” paying 1,000 JOD ($1,400) to

 each martyr’s family and 300 JOD ($425) to each Palestinian injured in the violence. From 1995




 3
            The First Intifada refers to the violent conflict that broke out in December 1987 between the Palestinians and
 Israel. It is generally considered to have ended with the signing of the Oslo Accords in 1993.


                                                           11
Case 1:18-cv-02192-HG-PK            Document 1       Filed 04/13/18      Page 12 of 54 PageID #: 12




 to 2000, the Popular Committee raised an additional 1,200,000 JOD for the martyrs’ families of

 the First Intifada.

         70.     Arab Bank’s own support and commitment to the violent goals of the various

 terrorist organizations during the Second Intifada were embodied by the personal commitment of

 its chairman during the Second Intifada, Abdul Majeed Shoman, who was a vocal supporter of the

 Second Intifada.

         71.     At an October 2000 meeting, the Popular Committee’s chairman, Abdul Majeed

 Shoman, and its other members discussed the need for a new mechanism to distribute the new

 donations to the Second Intifada which had not yet been transferred to the martyrs’ families and

 the injured of the Intifada as of that date.

         72.     They decided to bestow financial support to the martyrs’ families on the same terms

 as before and to call upon the Jordanian government to make the donations tax-exempt. Abdul

 Majeed Shoman, Chairman of Arab Bank at the time, opened the meeting saying:

                 After the blessed Intifada [erupted] I thought that we should discuss what
                 to do about it. There are some organizations which are fundraising
                 donations including the Welfare Association [headed by Mr. Shoman]. The
                 Welfare Association received donations and it has funds. I received phone
                 calls and donations from benevolent people and the Arab Bank’s board and
                 bank’s employees decided to donate 5% from October’s salaries [for the
                 Intifada]. In spite of the fact that donations were collected and are available
                 nothing was transferred to anybody. It is our duty to act and therefore I
                 summoned this meeting to hear from you.

         73.     Mr. Shoman objected to locating the committee’s office in Arab Bank’s Amman

 headquarters building, but he left open the possibility of “loaning” an accountant to the committee.

         74.     Ultimately, it was decided that the committee’s office would be located in the

 Amman Chamber of Industry headquarters, where it in fact opened on November 1, 2000.

         75.     As referenced by Mr. Shoman in his speech, on or about October 7, 2000, Arab




                                                   12
Case 1:18-cv-02192-HG-PK          Document 1        Filed 04/13/18      Page 13 of 54 PageID #: 13




 Bank announced that it would bestow financial donations to Palestinians injured during the Second

 Intifada. Its employees donated 5% of their monthly salary (for the month) to the Palestinian cause.

         76.    On November 22, 2000, Arab businessmen held a meeting with Yasser Arafat, then

 chairman of the PLO, at which time a new entity was formed, the Fund for Support of the

 Persistence of the Palestinian People, to further bankroll the Palestinian Authority and the Second

 Intifada.

         77.    Defendant Arab Bank pledged $2,000,000.00.

         78.    Mr. Shoman personally pledged $500,000.00.

         79.    The Shoman family’s altruism toward the Second Intifada continued in June 2001,

 when the Cultural Center of the Abdul Hameed Shoman Institute launched an exhibition on the

 subject of “the martyrs of the Palestinian Intifada.” The stated purpose of the exhibit was to “honor

 the martyrs of the blessed al-Aqsa intifada” by means of conveying the human and spirited image

 of their lives. The exhibit featured presentations of the martyrs’ personal belongings that had been

 collected, such as clothing and “tools” they used, along with an introduction to their lives and

 deeds until the day of their ‘martyrdom.’

         80.    Mr. Shoman’s support for the Second Intifada could also be seen in his letters to

 shareholders contained within the Arab Bank Annual Report. For example, in his 2003 letter to

 shareholders, Mr. Shoman wrote, “Throughout 2003 our branches in the Arab countries were

 affected by many negative pressure factors, first and foremost the enduring difficult situation

 which our brothers in Palestine suffer from and by the occupying enemy’s enduring obstinacy

 and oppression …”

         81.    Accordingly, the Bank’s financial and ideological support for the Second Intifada

 was a matter of public record.




                                                  13
Case 1:18-cv-02192-HG-PK          Document 1       Filed 04/13/18      Page 14 of 54 PageID #: 14




                2.      The Saudi Committee in Support of the Intifada Al Quds

        82.     On or about October 16, 2000, the Saudi Committee was established as a private

 charity registered with the Kingdom of Saudi Arabia.

        83.     According to the Saudi Committee, its purpose was to support the “Intifada Al

 Quds” and “all suffering families – the families of the martyrs and the injured Palestinians and the

 disabled.”

        84.     The Saudi Committee was also a member of the Union of Good, HAMAS’ global

 fundraising network, and was listed as a member on the Union of Good’s website.

        85.      The Union of Good maintained account 002850/811/9 at Arab Bank’s Beirut

 Branch.

        86.     The Saudi Committee issued a press release regarding the visit to Saudi Arabia by

 the head of the Union of Good, Dr. Yousef al-Qaradawi, at the invitation of Prince Nayef Bin Abd

 al-Aziz Al Sa’ud.

        87.     According to the press release “His Royal Highness approved 28 employment

 projects that the Union proposed to the Saudi Committee for the Support of the al-Quds Intifada.

 An initial sum of 1.3 million dollars was allocated as a first allotment and shall be followed by

 additional allotments and projects that the Union will propose to the Committee in the future.”

        88.     The Saudi Committee also established a website to promote its activities.

        89.     The website was later revamped, and the Saudi Committee’s name sanitized on the

 English language version of the website.

        90.     However, even the sanitized English version of the website stated that the

 committee’s activities include: “support of the families of martyrs and wounded, as well as the

 handicapped, orphans and prisoners, as well as homeowners whose houses were destroyed and




                                                 14
Case 1:18-cv-02192-HG-PK          Document 1        Filed 04/13/18      Page 15 of 54 PageID #: 15




 landowners whose land was bulldozed, as well as support of a number of Palestinian social

 institutions and sponsorship of needy families …”

        91.     In practice, the Saudi Committee constituted a professional fundraising apparatus

 intended to subsidize the Second Intifada, i.e., to subsidize the Palestinian terror campaign and to

 bankroll HAMAS and its related front organizations in the Palestinian Territories. In fact, the Saudi

 Committee’s website listed two well-known HAMAS front organizations, Al Salah Islamic

 Society in the Gaza Strip and the Islamic Charitable Society of Hebron in the West Bank, as

 coordinating the efforts of the Saudi Committee.

        92.     The Saudi Committee helped bankroll HAMAS-controlled front organizations in

 the Palestinian Territories by providing these organizations with more than $15,000,000. The

 biggest recipients of Saudi Committee funds were the two organizations that coordinated the Saudi

 Committee’s efforts in the Palestinian Territories: the Al Salah Islamic Society, which received

 over $9,700,000, and the Islamic Charitable Society of Hebron, which received just over

 $4,800,000. Smaller amounts were received by other well-known HAMAS organizations in the

 West Bank and Gaza Strip such as Al Mujama Al Islami (The Islamic Center – Gaza), Al Jam’iya

 Al-Islamiya (The Islamic Society – Gaza) and Al-Tadamun Charitable Society.

        93.     These funds were transferred to the organizations via the accounts they maintained

 at Arab Bank. Hence, Arab Bank played a key role in the efforts of the Saudi Committee to help

 bankroll HAMAS and its front organizations.

        94.     The Saudi Committee’s other goal was accomplished by providing a

 comprehensive insurance benefit or “martyr” payment of approximately $5,316 to the families of

 Palestinian terrorists such as the aforementioned HAMAS suicide bombers Nabil Halabiya and

 Osama Baher, who carried out the deadly double suicide bombing at the Ben Yehuda pedestrian




                                                  15
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18       Page 16 of 54 PageID #: 16




 mall in Jerusalem on December 1, 2001 in which U.S. citizen Plaintiff Netanel Miller was injured.

        95.     Other beneficiaries of martyr payments included: (1) the family of Sadeq Ahed Abd

 el-Hafez, who carried out the Karnei Shomron Pizzeria Bombing on February 16, 2002 in which

 Hillel Trattner was injured; and (2) the mother of Wafa’ Ali Khalil Idris, who carried out the

 suicide bombing on Jaffa Road in Jerusalem on January 27, 2002 in which the Sokolow family

 was injured.

        96.     Terrorists who were injured by Israeli security forces received a payment of

 approximately $1,325.

        97.     Terrorists who were captured as a result of their criminal conduct received a

 payment of approximately $ 2,655.

        98.     The Saudi Committee provided approximately $35 million, all of which flowed

 through Arab Bank branches, as benefits to the families of the so-called “martyrs,” i.e., the families

 of suicide bombers, and individuals killed by Israeli forces during the commission or attempted

 commission of terrorist acts, and to the families of Palestinians wounded during violent

 confrontations with Israel’s security forces, as well those activists held in Israeli custody. This type

 of support was critical to HAMAS’ efforts to win the hearts and minds of the Palestinian people

 and to create an infrastructure solidifying HAMAS’ position within Palestinian society.

        99.     Moreover, the insurance benefit not only provided universal terrorist death and

 dismemberment insurance coverage for specific members of preferred terrorist organizations such

 as HAMAS, as seen above with respect to the payment to the family of Nabil Halabiya, but was

 also intended as universal terrorist death and dismemberment insurance coverage available to

 terrorists belonging to any terrorist organization or to none at all, thereby incentivizing and

 rewarding all terrorists in Israel during the Second Intifada and eliminating the potential




                                                   16
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18       Page 17 of 54 PageID #: 17




 distinctions between terrorist groups, between individual (freelance) terrorists and the more

 established terrorist cells, and between the secular and radical Islamist terrorist organizations.

        100.      Wafa Idris’ mother was compensated notwithstanding her daughter being

 dispatched by Fatah to perpetrate the January 27, 2002 Jerusalem Bombing in which the Sokolow

 family members were injured. The family of Sadeq el-Hafez, who carried out the Karnei Shomron

 Pizzeria Bombing in which Hillel Trattner was injured, was compensated notwithstanding his

 being dispatched by the PFLP.

        101.      Defendant Arab Bank administered the comprehensive terrorist death and

 dismemberment insurance scheme by receiving, transmitting and distributing the benefits in

 accordance with lists of families of “martyrs” and others eligible for “coverage.”

        102.      Arab Bank was provided relatively detailed lists consisting of the names of the

 “martyrs,” personal information and details concerning the date and manner of death and other

 information provided to it by the Saudi Committee and representatives of the leading HAMAS

 organizations.

        103.      For example, Arab Bank received a list from the Saudi Committee that contained

 over 650 names. The instructions Arab Bank received were to substitute the pending transfers per

 the attached list of new beneficiaries. Number 610 on the list was Hatem Al-Sheweikeh, who

 carried out a terrorist attack on November 4, 2001. This list that Arab Bank received included

 information about the name of the “martyr,” the date of death, the cause of death and the name of

 the beneficiary. In the case of Al-Sheweikeh, it lists his date of death as November 4, 2001 and

 the cause of death as “French Hill Operation.” The attack that Al-Sheweikeh carried out on

 November 4, 2001 occurred in the French Hill section of Jerusalem.

        104.      This list also contained the name of HAMAS’ Third Engineer, Ayman Halawa.




                                                  17
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18      Page 18 of 54 PageID #: 18




 “Engineer” is term HAMAS uses to describe its bomb-makers. According to the list, Ayman

 Halawa was killed on October 22, 2001 in a car bombing.

        105.    In another list provided to Arab Bank, which was titled “List of Martyrs’ Names in

 the West Bank Sixth Installment,” the sixteenth name on the list is Hamed Abu Hijla and lists the

 cause of death as “Martyr Operation.” Hamed Abu Hijla was a very active HAMAS operative.

 HAMAS’ operational terrorist wing, the Izz al-Din al-Qassam Brigades, posted a picture of well-

 known HAMAS operatives Sheikh Hamed al-Bitawi, Jamal Mansour and Jamal Salim Damuni

 attending Abu Hijla’s funeral.

        106.    Accordingly, the terrorist death and dismemberment insurance plan included the

 families of suicide bombers, and Defendant Arab Bank and its senior management knew this fact.

        107.    Arab Bank coordinated with the Saudi Committee and local representatives of

 HAMAS to finalize the lists, maintain a database of persons eligible under this universal terrorist

 death and dismemberment insurance plan and received the funds for the plan. HAMAS, through

 its network of organizations, collected data on its own operatives as well as all other terrorists

 killed, injured or in Israeli custody and transmitted that information to the Saudi Committee and

 Defendant Arab Bank.

        108.    This can be seen from an August 2001 letter sent by Arab National Bank on behalf

 of the Saudi Committee to Arab Bank, which states “We would like to provide you with the names

 and addresses of the parties that have provided the Saudi Committee in Support of the Al-Quds

 Intifada with the names of the transfers’ beneficiaries …” The letter goes on to list Al Salah Islamic

 Society and the Islamic Charitable Society of Hebron.

        109.    Arab Bank’s coordination with local HAMAS representatives can be seen in

 correspondence it received from the Al Salah Islamic Society. In a May 2001 letter from the head




                                                  18
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18       Page 19 of 54 PageID #: 19




 of Al Salah, Ahmad Al-Kurd, to Muhammad al-Tahan, Manager of Operations in the Palestinian

 Territories during the Second Intifada, Al Salah requested that certain transfers from the Saudi

 Committee be stopped and sent back to the Saudi Committee.

        110.    Similarly, in a July 2001 letter from Al Salah to Arab Bank, Al Salah requested that

 it be provided with a list of all the names of individuals who had pending transfers from the Saudi

 Committee.

        111.    Every Palestinian family eligible for a Saudi Committee payment was encouraged

 to collect the terrorism benefits through a local branch of Arab Bank in the Palestinian Territories.

        112.    The conspiracy between the Saudi Committee and HAMAS and others was

 ultimately designed to provide substantial material support to Palestinian terrorist organizations

 and to provide a meaningful incentive both to prospective recruits and to individuals contemplating

 the commission of independent acts of violence in the name of the “popular resistance.” Arab Bank

 knew that the purpose of the conspiracy and acts taken pursuant thereto was to encourage others

 to engage in terrorist activities, and to support the continued commission of terrorist activities.

        113.    Arab Bank was aware of the methods and means by which HAMAS, the Popular

 Front for the Liberation of Palestine (“PFLP”), and other Foreign Terrorist Organizations sought

 to carry out their objectives.

        114.    Defendant Arab Bank knowingly and substantially assisted in the recruitment of

 terrorists by serving as the paymaster for this and other death and dismemberment insurance plans.

        115.    Any person who chose to participate in a suicide bombing or other terrorist attack

 did so secure in the knowledge that if he or she was killed in that attack, the financial needs of his

 or her family would be met for some time.

        116.    The same is true of the families of terrorists who were injured or apprehended.




                                                  19
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18       Page 20 of 54 PageID #: 20




        117.    In short, the Saudi Committee raised funds from private donors in Saudi Arabia and

 elsewhere in the Persian Gulf region and then allocated payments to Defendant Arab Bank to fulfill

 its public pledge of universal insurance coverage to Palestinian terrorists.

        118.    According to a U.S. State Department report, “Saudi Arabia continues to serve as

 a base for Hamas fundraising, by means of direct Hamas representational presence in the Kingdom

 of Saudi Arabia and through the possible continuing operation of the Account 98 system.” Account

 98 was the designated account at numerous Saudi banks for collecting money destined for

 Palestinian charitable organizations.

        119.    According to the State Department Report:

                In 2003, the United States provided evidence to Saudi authorities that the
                Saudi al Quds lntifadah Committee (“Committee”) founded in October
                2000, was forwarding millions of dollars in funds to the families of
                Palestinians engaged in terrorist activities, including those of suicide
                bombers. The funds were often transferred through integrated accounts at a
                number of major Saudi banks that were popularly referred to as Account 98.

        120.    This system of collecting funds via Account 98 was still in use in 2005. According

 to the State Department Report:

                In fact, Account 98 appears to still be in operation, as it is widely advertised
                as a receiving point for contributions to Palestinian organizations. As of
                early December 2005, on King Fahd Road, just south of the Ministry of
                Interior, there is a billboard reminding readers to “remember Jerusalem” (Al
                Quds) and to make donations to Account 98. U.S. visitors first observed the
                billboard in the spring of 2005.

                On August 29, 2005, a program aired in Saudi Arabia on lqra TV soliciting
                funds for the Saudi Committee for the Support of the al Quds Intifadah and
                asked donors to direct funds to a joint Account 98 at “all banks in the
                Kingdom of Saudi Arabia.”

        121.    Through the program administered by Arab Bank, the Saudi Committee paid and

 transmitted death benefits to over 1,600 “martyrs” totaling more than $8,500,000. Between 2000

 and 2002, the Saudi Committee paid more than $35,000,000 to the families of Palestinian



                                                  20
Case 1:18-cv-02192-HG-PK          Document 1       Filed 04/13/18     Page 21 of 54 PageID #: 21




 “martyrs,” “prisoners” and wounded.

        122.    According to Arab Bank’s Chief Banking Officer, Shukry Bishara, beginning in

 December 2001 Arab Bank transmitted over $90,000,000.00 to Palestine on behalf of the Saudi

 Committee to “institutions and individuals alike.”

        123.    In fact, Arab Bank served as the exclusive administrator for the Saudi Committee’s

 payment programs.

        124.    Indeed, in its original website, the Saudi Committee openly declared that its funds

 were transmitted and distributed to the families of martyrs through local branches of Arab Bank in

 Palestine. Although it has since been removed from the internet, the original archived webpage

 located at www.alquds-saudia.org\indexa.htm provided a list under the caption: “What has been

 done with your donations?”

        125.    Item number ten (10) on the web page responds with the answer: “Opening a bank

 account for every entitled [Palestinian] through the Arab Bank in Palestine.”

        126.    The website further listed numerous “martyrs” whose cause of death was listed as

 “suicide attack.”

        127.    Similarly, in the annual report issued by the Saudi Committee and published in the

 Saudi newspaper Al-Jazira on February 10, 2001, the Saudi Committee identified payments made

 to “Martyrs of al-Aqsa Intifada – The West Bank (The Third Group).” A total of 22 individuals

 are listed and for each “martyr,” the list identifies, inter alia, the name of the “martyr,” their

 beneficiary, and their account number at Arab Bank.

        128.    Defendant Arab Bank provided a convenient means for transmitting and

 distributing payments across Palestinian controlled territories that would be far more difficult if

 attempted by other means such as courier. Israeli territory separates Gaza from the West Bank and



                                                 21
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18      Page 22 of 54 PageID #: 22




 Israeli military checkpoints often separate one Palestinian city from another.

        129.    Arab Bank knew the criminal purpose that the accounts it opened and maintained

 for the Saudi Committee were intended to serve.

        130.    The Saudi Committee and local HAMAS charitable front organizations publicly

 and repeatedly advertised that purpose in both Saudi and Palestinian newspapers, on television and

 on the Saudi Committee’s website, all of which were known to Arab Bank and all of which were

 calculated to – and did – reach terrorists and potential terrorists. For instance:

               In the February 10, 2001 edition of the Saudi newspaper Al-Jazira, the Saudi
                Committee published an annual report in which it listed the names of Palestinian
                prisoners to whom it provided terrorism benefits as well as the names of the
                Palestinian martyrs (including the names of those killed in suicide bombings)
                whose families received terrorism death benefits;

               In a November 23, 2001 edition of the Palestinian newspaper, Al Quds, the Saudi
                Committee placed an announcement listing the names of more than 1,000
                individuals who had been injured during the Second Intifada or held in Israeli
                custody and invited them or their families “to go to the branches of the Arab Bank
                in their places of residence to receive their allocations donated by the
                Committee...”; and

               In a February 18, 2002 advertisement in the Palestinian newspaper Al Hayyat Al
                Jedida, a HAMAS charitable front organization in Ramallah announced that the
                Saudi Committee “the relatives of the martyrs, whose names hereby follow, are
                requested to head for the Arab Bank branches in their place of residence in order to
                receive the tenth payment from the Honorable Saudi Committee – a sum of
                5,316.06 USD ….” Among the names contained on this list are Ayman Halawa,
                discussed above, Hatem Al-Sheweikeh, discussed above, who carried out the attack
                on November 4, 2001, and Mamud Abu Hanud, commander of HAMAS’ Izz al-
                Din al-Qassam Brigades in the West Bank.

        131.    Since the Saudi Committee raised its funds in Saudi currency, which could not

 conveniently be converted into Israeli currency (most commonly used in Palestinian controlled

 areas), those funds were primarily converted into U.S. dollars through Arab Bank’s then-operating

 New York branch and then routed to the local branches of Arab Bank in the West Bank. Arab

 Bank’s role was material and essential to the furtherance of the Saudi Committee’s terror financing


                                                  22
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18      Page 23 of 54 PageID #: 23




 in two (2) important respects.

        132.    First, Arab Bank provided both professionalism and transparency to the process,

 thereby reassuring wealthy Saudi and Gulf State donors that the money they were contributing

 would not be siphoned off by corrupt officials, but would in fact reach the families of terrorists as

 intended.

        133.    Second, Arab Bank, through its network of local branches in the West Bank and

 Gaza, provided an ideal distribution system that offered both convenience to the families of the

 terrorists who were able to bypass both the corruption of the Palestinian Authority and the

 uncertainty of cash payments delivered by courier, and the certainty of an accounting system that

 minimized the risk of duplicate payments and unreliable record-keeping.

        C.      The Primary Palestinian Terrorist Groups

        134.    Several prominent terrorist organizations operate in Palestinian-controlled territory,

 most notably HAMAS and Palestinian Islamic Jihad (“PIJ”). HAMAS and PIJ are both primarily

 radical Islamist terrorist organizations committed to the globalization of Islam through violent

 “Jihad” or holy war.

        135.    HAMAS and PIJ are formally committed to the destruction of the State of Israel

 and to achieving their objectives by violent means, including acts of terrorism. The HAMAS

 Charter states that the very purpose of HAMAS is to create an Islamic Palestinian state throughout

 Israel by eliminating the State of Israel through violent jihad.

        136.    In addition, the nominal proto-government within Palestinian-controlled territory

 known as the Palestinian Authority operates several paramilitary organizations through its political

 organizations, the PLO and Fatah.

        137.    Through the PLO’s various permutations, including its “security services,” the PA




                                                  23
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18      Page 24 of 54 PageID #: 24




 (and Fatah) competed with HAMAS and PIJ to commit terrorist attacks against civilian targets in

 Israel, including attacks that have killed and injured United States citizens.

        138.    The Al Aqsa Martyrs Brigades is one of the more well-known and lethal terror

 organizations sponsored by and belonging to Fatah.

                1.      The Islamic Resistance Movement (“HAMAS”)

                        a.      HAMAS’ Founding and Structure

        139.    HAMAS is an acronym for “Harakat al-Muqawama al-Islamiyya,” the Islamic

 Resistance Movement, which was founded in December 1987 by Sheikh Ahmed Yassin together

 with Salah Shehada, Abd al-Aziz al-Rantisi, Muhammad Sham’a, Ibrahim al-Yazuri, Issa al-

 Nashar and Abd al-Fatah Dukhan.

        140.    HAMAS is an offshoot of the Muslim Brotherhood, a radical Islamic group founded

 in Egypt before World War II.

        141.    HAMAS is nominally divided into three interconnected wings: the political wing,

 the “Da’wa” (HAMAS’ social service or humanitarian component), and the military operational

 wing known as the Izz-al-Din al-Qassam Brigades. Although these components have separate

 responsibilities, the organization operates seamlessly, with each component working to conduct

 the operations and achieve the illegal objectives of the terrorist group as a whole.

        142.    HAMAS’ social services are, in large part, administered by local “zakat,”

 committees and charitable societies. These committees and societies were either established by

 HAMAS or taken over by HAMAS by, inter alia, HAMAS members, operatives and activists

 sitting as members of their governing committees. These committees and organizations collect and

 distribute funds on behalf of HAMAS.

        143.    Al Mujama Al Islami (The Islamic Center – Gaza) and Al Jam’iya Al Islamiya (The




                                                  24
Case 1:18-cv-02192-HG-PK            Document 1         Filed 04/13/18      Page 25 of 54 PageID #: 25




 Islamic Society – Gaza) were both founded by Sheikh Yassin in the 1970s, prior to the formation

 of HAMAS. With the founding of HAMAS, both of these organizations formed the backbone of

 HAMAS’ Da’wa. As discussed below, Defendant Arab Bank maintained accounts for both of these

 organizations.

           144.   One of the important roles of these organizations was their involvement in

 channeling funds to pay expenses for and assist the families of terrorist operatives who were

 arrested, injured or killed. These entities also assisted with providing housing subsidies to the

 families of suicide bombers whose homes were often demolished by the Israeli army after the

 bomber’s identity had been confirmed.

           145.   The network of these “charities” and other “charitable” associations not only helped

 raise funds for HAMAS’s terrorist operations, but also helped it to identify and recruit potential

 terrorists. The network also assisted recruitment, in part, by funneling money to pay benefits to the

 families of terrorist operatives who were arrested, injured, or killed.

           146.   Due to the substantial expenditures of HAMAS and the fungible nature of money,

 significant sums of monies collected externally under charitable and humanitarian banners are

 routed for HAMAS’ terrorist and other operational uses, in addition to being used to free up other

 funds for specific terrorists acts. HAMAS used (and still uses) such funds to, among other things,

 provide weapons, explosives, transportation services, safehouses, training and salaries for its

 terrorist operatives and for terrorist recruiters.

           147.   As noted above, HAMAS is a Foreign Terrorist Organization dedicated to radical

 Islamist principles and the destruction of the State of Israel. It also uses violence, principally

 suicide bombings, and threats of violence to pressure Israel to cede territory to the Palestinian

 people.




                                                      25
Case 1:18-cv-02192-HG-PK          Document 1        Filed 04/13/18       Page 26 of 54 PageID #: 26




        148.    HAMAS knowingly, willfully, and unlawfully combined, conspired, confederated

 and agreed to commit numerous acts of international terrorism and other related criminal activity,

 including murder, attempted murder, solicitation to commit murder and numerous other acts of

 international terrorism activities as defined by 18 U.S.C. § 2331 and 18 U.S.C. § 2332 and other

 related acts of murder, attempted murder, solicitation to commit murder and providing material

 support to designated Foreign Terrorist Organizations in violation of the federal criminal code of

 the United States.

                        b.      HAMAS’ Formal Designation as a Terrorist Organization

        149.    In 1989, the Government of Israel declared HAMAS a terrorist organization and

 designated it an “unlawful organization” because of its terrorist acts. Notice of the designation was

 placed in the official Government of Israel publication, the Announcements and Advertisements

 Gazette.

        150.    On January 23, 1995, President Clinton issued Executive Order No. 12947.

 President Clinton found that “grave acts of violence committed by foreign terrorists that threaten

 to disrupt the Middle East peace process constitute an unusual and extraordinary threat to the

 national security, foreign policy, and economy of the United States.”

        151.    Executive Order No. 12947 designated HAMAS a Specially Designated Terrorist

 (“SDT”). Executive Order No. 12947 blocked all property and interests in property of the terrorist

 organizations and persons designated in the Order, including HAMAS.

        152.    On October 8, 1997, by publication in the Federal Register, the United States

 Secretary of State designated HAMAS a Foreign Terrorist Organization pursuant to Section 219

 of the Immigration and Nationality Act and the Antiterrorism and Effective Death Penalty Act of

 1996. The designation of HAMAS as an FTO has been renewed every two years since 1997.




                                                  26
Case 1:18-cv-02192-HG-PK             Document 1     Filed 04/13/18      Page 27 of 54 PageID #: 27




          153.   After the September 11, 2001 terrorist attacks on the United States, President Bush

 issued Executive Order No. 13224, declaring a national emergency with respect to the “grave acts

 of terrorism ... and the continuing and immediate threat of further attacks on United States nationals

 or the United States.”

          154.   Executive Order No. 13224 designated HAMAS a Specially Designated Global

 Terrorist (“SDGT”). Executive Order No. 13224 blocked all property and interests in property of

 SDGTs, including HAMAS.

                          c.    HAMAS’ Leadership

                                1.      Sheikh Ahmed Yassin

          155.   As noted above, Sheikh Ahmed Yassin founded HAMAS in 1987. He was also its

 spiritual leader and iconic symbol.

          156.   During the 1970s, Yassin established Al Mujama Al Islami and Al Jam’iya Al

 Islamiya. These two organizations are central organizations within HAMAS’ Da’wa.

          157.   On January 25, 1995, Yassin was designated an SDT pursuant to Executive Order

 12947.

          158.   On August 22, 2003, Yassin was designated an SDGT pursuant to Executive Order

 13224.

          159.   Yassin maintained account number 36444 at Arab Bank’s Gaza branch. On May

 30, 2001, Yassin received a $60,000 transfer into this account from Yousef El Hayek through Arab

 Bank’s New York branch. Yassin’s wife, Halima Hasan Yassin, also maintained an account at

 Arab Bank and received $153,435 between November 2000 and May 2001 through Arab Bank’s

 New York branch.

          160.   Sheikh Yassin was assassinated by Israel in 2004.




                                                  27
Case 1:18-cv-02192-HG-PK            Document 1    Filed 04/13/18    Page 28 of 54 PageID #: 28




                               2.      Salah Shehada

        161.    As noted above, Salah Shehada was one of the founders of HAMAS.

        162.    With the founding of HAMAS, Shehada was appointed to head HAMAS’

 operations in the northern Gaza Strip.

        163.    Shehada was also the founder of HAMAS’ operational terrorist wing, the Izz al-

 Din al-Qassam Brigades.

        164.    Shehada was arrested by Israel in 1988 and released in 2000. He was killed by the

 Israel Defense Forces (“IDF”) in July 2002.

        165.    Shehada maintained account number 349321510 at Arab Bank’s Gaza branch.

 Between November 2000 and February 2001 he received 7 transfers totaling $109,500 through

 Arab Bank’s New York branch.

        166.    Shehada’s wife also received a Saudi Committee prisoner payment of $2,655.

                               3.      Muhammad Sham’a

        167.    As noted above, Muhammad Sham’a was one of the founders of HAMAS. He was

 born in 1937 and was one of the co-founders of Al Mujama Al Islami.

        168.    With the founding of HAMAS, he was put in charge of Shati Refugee Camp.

        169.    Sham’a maintained account number 513636510 at Arab Bank’s Gaza branch.

 Between January 2001 and December 2001 he received at least four transfers totaling $144,000

 through Arab Bank’s New York branch.

                               4.      Abd al-Fatah Dukhan

        170.    As noted above, Abd al-Fatah Dukhan was one of the founders of HAMAS.

        171.    Dukhan was a member of Al Mujama Al Islami and headed its Nusairat Refugee

 Camp branch.




                                                 28
Case 1:18-cv-02192-HG-PK            Document 1    Filed 04/13/18      Page 29 of 54 PageID #: 29




         172.   With the founding of HAMAS, Dukhan was put in charge of the central camps

 (four refugee camps).

         173.   Dukhan was the beneficiary of a Saudi Committee prisoner payment of $2,655

 through Arab Bank’s New York branch for his son who was imprisoned in Israel.

                               5.      Ismail Abd al-Salam Haniya

         174.   Ismail Haniya was born in 1962 in the Shati Refugee Camp in Gaza. In 1981, he

 joined the Islamic Bloc (Al-Kutla Al-Islamiya), the student affiliation of the Muslim Brotherhood,

 from which HAMAS emerged.

         175.   Haniya served as a member of Al Jam’iya Al Islamiya’s senior administrative body

 and headed its club in Gaza for approximately 10 years.

         176.   Haniya became a close aide to Sheikh Yassin.

         177.   In 2006, Haniya led HAMAS’ Change and Reform List when HAMAS won the

 Palestinian Authority elections, and he became the Prime Minister of the HAMAS government in

 Gaza.

         178.   He is currently the head of HAMAS.

         179.   Haniya maintained account number 63517500 at Arab Bank’s Gaza branch.

 Between July 2000 and September 2001, Haniya received 19 transfers totaling $420,100 through

 Arab Bank’s New York branch.

                               6.      Ismail Abu Shanab

         180.   Ismail Abu Shanab was born in 1950 in the Nuseirat Refugee Camp in the Gaza

 Strip. He studied engineering at al-Mansura University in Egypt and received a master’s degree in

 engineering from the University of Colorado.

         181.   Abu Shanab was one of the founders of the Islamic Society – Gaza. He was a close




                                                 29
Case 1:18-cv-02192-HG-PK            Document 1    Filed 04/13/18      Page 30 of 54 PageID #: 30




 aide to Sheikh Yassin, serving as his deputy.

        182.    Abu Shanab was killed in an IDF operation on August 21, 2003.

        183.    Abu Shanab maintained account number 236519510 at Arab Bank’s Gaza branch.

 Between August 2000 and August 2001, Abu Shanab received 9 transfers totaling $173,172

 through Arab Bank’s New York branch.

                       d.      Terrorism Financing

        184.    Funds raised by or on behalf of HAMAS for “charitable purposes” are used to

 finance its terrorist activities. As Congress found when passing the AEDPA: “Foreign

 organizations that engage in terrorist activity are so tainted by their criminal conduct that any

 contribution to such an organization facilitates that conduct.” Antiterrorism Act of 1996, Pub. L.

 No. 104-132, sec. 301(a)(7), 110 Stat. 1247.

        185.    HAMAS received a majority of its financing through donations coordinated by

 prominent Saudi and Gulf State charities and the global network of charities known as the Union

 of Good. The Union of Good, in turn, raised funds that were, in part, channeled through an entity

 known as the Palestine Relief and Development Fund and/or Interpal, a British charity that was

 designated an SDGT by the U.S. government in August 2003.

                               1.      The Union of Good

        186.    I’Tilafu Al-Khayr a/k/a the Union of Good was an umbrella organization

 established by HAMAS’ leadership in October 2000, immediately following the outbreak of the

 Second Intifada. It comprised more than fifty (50) Islamic charitable foundations worldwide.

        187.    The Union of Good was a principal fundraising mechanism for HAMAS.

        188.    The Union of Good’s primary “charitable” purpose was to provide financial support

 for HAMAS and its agents in the Palestinian Territories.




                                                 30
Case 1:18-cv-02192-HG-PK         Document 1        Filed 04/13/18   Page 31 of 54 PageID #: 31




        189.    The Government of Israel outlawed the Union of Good and one of its member

 organizations, the World Assembly of Muslim Youth, in February 2002 and furthered outlawed

 36 of its member organizations in July 2008.

        190.    Three member organizations of the Union of Good – Interpal, Commite de

 Bienfaisance et de Secours aux Palestiniens (“CBSP”) and the Al Aqsa Foundation – were

 designated by the Government of Israel in 1997.

        191.    The Al Aqsa Foundation in Germany opened account number 300733-300 at Arab

 Bank’s Frankfurt branch in 1994. The Al Aqsa Foundation in Germany was closed down by the

 German Government in 2002.

        192.    On May 29, 2003, the United States designated Al Aqsa Foundation an SDGT

 because of its role as a HAMAS fundraiser.

        193.    On August 19, 2003, a HAMAS suicide bomber blew up Egged bus #2, killing

 twenty-three (23) people, including seven (7) children.

        194.    On August 22, 2003, pursuant to Executive Order 13224, President Bush linked

 HAMAS to the Egged bus #2 attack, identified CBSP and Interpal as HAMAS fundraising entities,

 and designated them SDGTs, referencing CBSP as the “primary fundraiser[] for HAMAS in

 France,” and Interpal as “the fundraising coordinator of HAMAS.”

        195.    Other Union of Good members designated by the U.S. Government include

 Association de Secours Palestinien (“ASP”) and Palestinian Association in Austria (“PVOE”)

 (both designated on August 22, 2003 with CBSP and Interpal).

        196.    The United States Government designated the Union of Good itself an SDGT on

 November 12, 2008. The press release announcing the designation noted:

                The Union of Good acts as a broker for Hamas by facilitating financial
                transfers between a web of charitable organizations—including several



                                                31
Case 1:18-cv-02192-HG-PK          Document 1        Filed 04/13/18       Page 32 of 54 PageID #: 32




                organizations previously designated under E.O. 13224 for providing
                support to Hamas—and Hamas-controlled organizations in the West Bank
                and Gaza. The primary purpose of this activity is to strengthen Hamas’
                political and military position in the West Bank and Gaza, including by: (i)
                diverting charitable donations to support Hamas members and the families
                of terrorist operatives; and (ii) dispensing social welfare and other charitable
                services on behalf of Hamas.

                …

                Funds raised by the Union of Good affiliates have been transferred to
                Hamas-managed organizations in the West Bank and Gaza. In addition to
                providing cover for Hamas financial transfers, some of the funds transferred
                by the Union of Good have compensated Hamas terrorists by providing
                payments to the families of suicide bombers.

        197.    As previously noted, the Union of Good used Interpal as its principal clearing house

 for funds raised throughout Europe and the Middle East.

        198.    The Union of Good’s “101 Days Campaign” maintained its own website at

 www.101days.org. The campaign solicited funds for HAMAS and directed prospective donors to

 donate via Interpal’s bank accounts.

        199.    Similarly, CBSP’s website solicited funds for the 101 Days Campaign and provided

 contact information and bank account information for donations. Among the organizations listed

 on this website were several U.S. designated SDGTs including Interpal, CBSP and various

 branches of the Al Aqsa Foundation.

        200.    The Union of Good is headed by Dr. Yousef al-Qaradawi, an extremist Sunni

 Muslim scholar based in Qatar. al-Qaradawi has been on the U.S. Watch List since November

 1999 and cannot travel to the United States.

        201.    al-Qaradawi is well known in the Arab world. He had his own weekly television

 program on Al Jazeera and has very publicly issued an Islamic religious edict (fatwa) authorizing




                                                  32
Case 1:18-cv-02192-HG-PK               Document 1         Filed 04/13/18         Page 33 of 54 PageID #: 33




 suicide bombing attacks against Israel.4

           202.   In 2001, al-Qaradawi publicly described the activities of the Islamic charitable

 societies sustaining the Second Intifada against Israel as a “new type of jihad, financial jihad,

 through which financial support is guaranteed to the martyrs’ families, Palestinian prisoners and

 detainees, and every Palestinian whose property is damaged during the conflict.”

           203.   In an interview with The Guardian newspaper in October 2005, al-Qaradawi

 discussed suicide bombing in Israel and was quoted as saying:

                  The actor who commits this is a martyr because he gave his life for the noble
                  cause of fighting oppression and defending his community. These
                  operations are best seen as the weapon of the weak against the powerful. It
                  is a kind of divine justice when the poor, who don’t have weapons, are given
                  a weapon which the fully equipped and armed-to-the-teeth powerful don’t
                  have - the powerful are not willing to give their lives for any cause.

           204.   During a 2007 broadcast on Al Jazeera, al-Qaradawi sat next to the head of

 HAMAS’ political wing, Khalid Mishal, a designated SDGT. During the broadcast, al-Qaradawi

 stated:

                  I support the Palestinian cause. I support resistance and jihad. I support
                  Hamas. I support the [Islamic] Jihad group, I support Hizballah. I am against
                  the peace that Israel and America want to dictate. This is an illusory peace.
                  I support amaliyat istishhadyia [suicide attacks] and this is the straw [that
                  broke the camel’s back]. What should I do now? This big terrorist is sitting
                  next to me and they will accuse me because of this today.

           205.   During the same conference, Khalid Mishal stated:

                  The third point: the Union of Good. One of the blessings of our Sheikh, may
                  Allah reward him is that he supports what he says with acts. His support of
                  the Palestinian people and the Intifada was not in words, positions and
                  fatwas [religious rulings] only, but also in activities and efforts. He
                  sponsored a big project which is the Union of Good during the Second
                  Intifada – the blessed al-Aqsa Intifada. I do not exaggerate when I say that
                  what the projects of Union of Good provided - the blessed money from the

 4
          Al-Qaradawi was also the first scholar who authorized women to commit suicide attacks (March 2002) in the
 context of the Second Intifada, as cited in HAMAS’ official website: http://www.palestine-
 info.info/arabic/fatawa/alamaliyat/qaradawi.htm.


                                                        33
Case 1:18-cv-02192-HG-PK             Document 1     Filed 04/13/18      Page 34 of 54 PageID #: 34




                good people of the [Muslim] nation to the steadfast people on the land of
                Palestine was tens, even hundreds of millions of dollars. I wish that this will
                be in the Sheikhs balance of good deeds.

                               2.       Interpal

         206.   As noted above, charitable donations to the Union of Good are partially collected

 and distributed through Interpal.

         207.   Interpal was founded in 1981 as the Palestine and Lebanon Relief Fund and was

 reincorporated as Interpal in November 1994.

         208.   As noted above, the U.S. Government designated Interpal an SDGT on August 22,

 2003.

         209.   Between January 1999 and August 22, 2003, Interpal transferred over $8,800,000

 to beneficiaries who maintained accounts at Arab Bank. Between August 23, 2003 and December

 2004, Interpal transferred over $600,000 to beneficiaries who maintained accounts at Arab Bank.

         210.   According to testimony during the Linde v. Arab Bank trial, Arab Bank’s branch in

 London maintained an account for Interpal.

                               3.       Holy Land Foundation for Relief and Development

         211.   The Holy Land Foundation (“HLF”), originally known as the Occupied Land Fund,

 was founded in the late 1980s in California. In 1992 it relocated to Richardson, Texas. HLF

 maintained representative offices in the West Bank and Gaza.

         212.   HLF was HAMAS’ primary fundraiser in the United States until it was designated

 an SDGT in December 2001.

         213.   HLF supported HAMAS with money that was delivered to HAMAS-controlled

 charitable societies in the Palestinian Territories. For example, between 1989 and 1994, HLF sent

 more than $730,000 to Al Mujama Al Islami and its director (an HAMAS co-founder) Ibrahim al-




                                                   34
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18     Page 35 of 54 PageID #: 35




 Yazuri.

           214.   Defendant Arab Bank knowingly laundered funds for HLF for more than a decade.

 Arab Bank accomplished this by channeling tens of thousands of dollars for HLF through its New

 York branch to the Ramallah Zakat Committee, the Tulkarem Zakat Committee, and the Islamic

 Charitable Society of Hebron, all agents of HAMAS.

           215.   On March 15, 1996, a feature article in The New York Times detailed the financing

 of HAMAS by so-called charitable organizations. The article specifically discussed Israeli

 Government claims that HLF was a “key fundraising operation” for HAMAS.

           216.   On May 6, 1997, the Government of Israel designated HLF an “unlawful

 association” and declared that HLF “deals in the practice of transferring monies to families of

 HAMAS activists, who carried out deadly attacks ...” The Government of Israel further designated

 HLF a terrorist organization on January 17, 1998.

           217.   On September 25, 1997, the Palestinian Authority closed what it identified as 16

 HAMAS institutions and associations. HLF’s Gaza office was one of the entities (temporarily)

 closed by the PA. The closure, including identification of HLF as a targeted HAMAS entity, was

 detailed in a Jerusalem Post news account on September 28, 1997.

           218.   HLF and its officers have been convicted in the United States District Court for the

 Northern District of Texas for knowingly providing material support to HAMAS – including for

 specific transactions involving payments made by HLF to the Islamic Charitable Society of

 Hebron, the Ramallah Zakat Committee, Tulkarem Zakat Committee, Nablus Zakat Committee,

 and Jenin Zakat Committee.

           219.   The HLF indictment specified particular financial transactions HLF initiated that

 resulted in monetary transfers to the Ramallah Zakat Committee, Tulkarem Zakat Committee, and




                                                   35
Case 1:18-cv-02192-HG-PK            Document 1      Filed 04/13/18       Page 36 of 54 PageID #: 36




 the Islamic Charitable Society of Hebron which violate 18 U.S.C. § 2339B.

                               4.       Hamdan Account

        220.    Arab Bank knowingly provided banking services to HAMAS directly through its

 Al-Mazra Branch Account # 3-810-622473-0330 in Beirut which collected funds directly in the

 name of HAMAS.

        221.    This account was opened in July 1998 by Osama Hamdan as an individual account.

        222.    Osama Hamdan was HAMAS’ representative in Lebanon since 1998 and a senior

 HAMAS leader.

        223.    Hamdan was not a clandestine figure unknown to the public. For example, on

 March 27, 2002, following the bombing of the Park Hotel in Netanya Israel on Passover, he was

 interviewed by CNN regarding the bombing. CNN identified Hamdan as HAMAS’ spokesman.

        224.    In August 2003, the U.S. Treasury Department designated Hamdan an SDGT due

 to his leadership position in Hamas.

        225.    According to the U.S. Treasury press release announcing his designation:

                Hamdan, a senior HAMAS official based in Lebanon, maintains contact
                with representatives with other terrorist organizations with the purpose of
                strengthening the ties between these organizations in order to strengthen an
                international Islamic Jihad. He has worked with other HAMAS and
                Hizballah leaders on initiatives to develop and activate the military network
                inside the Palestinian territories in support of the current intifada, including
                the movement of weapons, explosives and personnel to the West Bank and
                Gaza for HAMAS fighters.

                Funds transferred from charitable donations to HAMAS for distribution to
                the families of Palestinian “martyrs” have been transferred to the bank
                account of Hamdan and used to support HAMAS military operations in
                Israel.

        226.    The United States Department of Justice has identified the website: www.palestine-




                                                  36
Case 1:18-cv-02192-HG-PK             Document 1         Filed 04/13/18        Page 37 of 54 PageID #: 37




 info.com as the “official” website of HAMAS.5

         227.    The website itself solicited funds and asked contributors to send money to its Al-

 Mazra Branch Account # 3-810-622473-0330 at Arab Bank in Beirut, but it also asked donors “to

 cite only the account number and not the name of the [Palestine Information] Center or any other

 names.”

         228.    As noted above, this account was opened by an Osama Hamdan, not the Palestine

 Information Center.

         229.    During the 2014 civil trial against Arab Bank for attacks perpetrated by HAMAS,

 three (3) wire transfers to this account were introduced into evidence for which the listed

 beneficiary was “Harakat al Muqawamah al Islamiyah Hamas.” There were also additional wire

 transfers that listed the beneficiary as the “Palestine Information Center” – the name given to

 HAMAS’ website.

         230.    This account was maintained by Arab Bank until after the Linde v. Arab Bank

 lawsuit was filed in July 2004.

         231.    At the end of August 2004, more than a year after Hamdan had been designated an

 SDGT by the U.S. Government, Arab Bank finally took steps to close the account.

         232.    Arab Bank retained the $8,677.92 that was contained in the account until March

 30, 2005, at which point the Defendant issued a check in that amount to Hamdan, who retrieved

 the money from the Bank. Arab Bank knowingly provided Hamdan with the funds despite knowing

 that he had been designated by the U.S. government as an SDGT because he was a senior HAMAS

 official.




 5
         The website has since migrated to a new “URL” and can be found at https://www.palinfo.com.


                                                      37
Case 1:18-cv-02192-HG-PK                 Document 1     Filed 04/13/18   Page 38 of 54 PageID #: 38




                                    5.      HAMAS-Controlled Entities in the West Bank and Gaza

         233.      As noted above, HAMAS raises funds to support its terrorist acts through a network

 of “charitable” front organizations called the Da’wa.

         234.      Arab Bank knowingly provided banking services to these zakat committees and

 charitable committees and affirmatively assisted them in collecting, receiving, transmitting and

 distributing funds to support the Second Intifada terror campaign.

         235.         The numerous front organizations HAMAS established to assist it in carrying out

 its terrorist activities, included:

                  i.         Al Mujama Al Islami a/k/a The Islamic Center – Gaza;

                 ii.         Al Jam’iya Al Islamiya a/k/a The Islamic Society – Gaza;

                iii.         Al Salah Islamic Society – Gaza;

                iv.          Islamic Charitable Society of Hebron;

                 v.          Ramallah Zakat Committee;

                vi.          Tulkarem Zakat Committee;

              vii.           Nablus Zakat Committee;

             viii.           Jenin Zakat Committee;

                ix.          Al-Tadamun Charitable Society – Nablus; and

                 x.          Al Islah Charitable Society.

         236.      Arab Bank provided direct financial services, including maintaining bank accounts

 and conducting wire transfers for, Al Mujama Al Islami, Al Jam’iya Al Islamiya, Al Salah Islamic

 Society – Gaza, Islamic Charitable Society of Hebron, Ramallah Zakat Committee, Tulkarem

 Zakat Committee, Nablus Zakat Committee, Jenin Zakat Committee, Al-Tadamun Charitable

 Society – Nablus, and Al Islah Charitable Society.




                                                      38
Case 1:18-cv-02192-HG-PK        Document 1       Filed 04/13/18      Page 39 of 54 PageID #: 39




        237.   Al Mujama Al Islami, Al Jam’iya Al Islamiya, Al-Salah Islamic Society – Gaza,

 Islamic Charitable Society of Hebron, Tulkarem Zakat Committee, Nablus Zakat Committee,

 Ramallah Zakat Committee, and Jenin Zakat Committee were all identified by the United States

 Department of Justice as HAMAS front organizations, and the management of each of these

 “charities” is in fact controlled by HAMAS operatives.

        238.   Al Mujama Al Islami, Al Jam’iya Al Islamiya, Al Salah Islamic Society – Gaza,

 Al-Tadamun Charitable Society – Nablus, Tulkarem Zakat Committee, Ramallah Zakat

 Committee, Jenin Zakat Committees, the Islamic Charitable Society of Hebron and Al Islah

 Charitable Society were all designated “unlawful organizations” by the Government of Israel in

 February 2002 because of their connection to HAMAS.

        239.   The Nablus Zakat Committee was designated an “unlawful organization” by the

 Government of Israel in June 2005.

        240.   On August 7, 2007, the United States Government designated Al Salah Islamic

 Society – Gaza and its chairman, Ahmad al-Kurd, SDGTs.

        241.   According the U.S. Treasury Press Release announcing the designation:

               One of the most senior Gaza-based Hamas leaders and founders, Ismail Abu
               Shanab, openly identified the Al-Salah Society as “one of the three Islamic
               charities that form Hamas’ welfare arm.” The Al-Salah Society has received
               substantial funding from Persian Gulf countries, including at least hundreds
               of thousands of dollars from Kuwaiti donors.
               …
               The Al-Salah Society has employed a number of Hamas military wing
               members. In late 2002, an official of the Al-Salah Society in Gaza was the
               principal leader of a Hamas military wing structure in the Al-Maghazi
               refugee camp in Gaza. The founder and former director of the Al-Salah
               Society’s Al-Maghazi branch reportedly also operated as a member of the
               Hamas military wing structure in Al-Maghazi, participated in weapons
               deals, and served as a liaison to the rest of the Hamas structure in Al-
               Maghazi. At least four other Hamas military wing members in the Al-
               Maghazi refugee camp in Gaza were tied to the Al-Salah Society.




                                               39
Case 1:18-cv-02192-HG-PK         Document 1      Filed 04/13/18     Page 40 of 54 PageID #: 40




        242.   According to the same press release, “The Al-Salah Society was included on a list

 of suspected Hamas and Palestinian Islamic Jihad-affiliated NGOs whose accounts were frozen by

 the Palestinian Authority as of late August 2003. After freezing the bank accounts, PA officials

 confirmed that the Al-Salah Society was a front for Hamas.”

        243.   Arab Bank also processed wire transfers totaling more than $100,000 for Abbas al-

 Sayyed, who was described as “the individual who confessed responsibility for the Park Hotel

 bombing in 2002.”

        244.   Arab Bank provided financial services to agents of HAMAS through the following

 accounts that it maintained in the West Bank and Gaza Strip:

               (1)     Tulkarem Zakat Committee Account No. 9070-500010-6-500

               (2)     Tulkarem Zakat Committee Account No. 9070-500010-6-510

               (3)     Tulkarem Zakat Committee Account No. 9070-500010-0-520

               (4)     Tulkarem Zakat Committee Account No. 1003-536447-301 (at Arab Bank’s
                       Kensington Branch)

               (5)     Ramallah Zakat Committee Account No. 9030-610686-2-510

               (6)     Ramallah Zakat Committee Account No. 9030-610686-2-500

               (7)     Ramallah Zakat Committee Account No. 9030-610686-0-500

               (8)     Nablus Zakat Committee Account No. 9020-400336-0-500

               (9)     Nablus Zakat Committee Account No. 9020-400336-5-500

               (10)    Nablus Zakat Committee Account No. 9020-400336-5-598

               (11)    Al Mujama Al Islami Account No. 9500-012410-9-510

               (11)    Islamic Charitable Society of Hebron Account No. 9040-750049-0-510

               (12)    Islamic Charitable Society of Hebron Account No. 9040-750049-1-510




                                               40
Case 1:18-cv-02192-HG-PK       Document 1       Filed 04/13/18      Page 41 of 54 PageID #: 41




              (13)   Al Jam’iya Al Islamiya Account No. 411-546868-1003 (at Arab Bank’s
                     Kensington Branch)

              (14)   Al Jam’iya Al Islamiya Account No. 3683-8-510

              (15)   Al Salah Islamic Society – Gaza Account No. 9500-5600-510

              (16)   Al Salah Islamic Society – Gaza Account No. 9500-5600-6

              (17)   Jenin Zakat Committee Account No. 543079301

              (18)   Jenin Zakat Committee Account No. 1003-225-543087 (at Arab Bank’s
                     Kensington Branch)

              (19)   Al Islah Charitable Society Account No. 9030-649611-3-510

              (20)   Al-Tadamun Charitable Society – Nablus Account No. 400271-7-510.

       245.   Between 1999 and 2004, Arab Bank processed wire transfers for the following:

              (1)    Al Mujama Al Islami – at least 31 transfers totaling $799,552 including 1
                     transfer that was processed by Arab Bank’s New York Branch

              (2)    Al Jam’iya Al Islamiya – at least 132 transfers totaling $2,673,467 including
                     39 transfers that were processed by Arab Bank’s New York Branch

              (3)    Al Salah Islamic Society – Gaza – at least 147 transfers totaling
                     $15,236,322 including 61 transfers that were processed by Arab Bank’s
                     New York Branch

              (4)    Islamic Charitable Society of Hebron – at least 177 transfers totaling
                     $9,457,768 including 91 transfers that were processed by Arab Bank’s New
                     York Branch

              (5)    Jenin Zakat Committee – at least 2 transfers totaling $21,264 that were
                     processed by Arab Bank’s New York Branch

              (6)    Nablus Zakat Committee – at least 55 transfers totaling $687,100 including
                     21 transfers that were processed by Arab Bank’s New York Branch

              (7)    Tulkarem Zakat Committee – at least 64 transfers totaling $704,526
                     including 22 transfers that were processed by Arab Bank’s New York
                     Branch

              (8)    Ramallah Zakat Committee – at least 83 transfers totaling 862,815 including
                     37 transfers that were processed by Arab Bank’s New York Branch



                                              41
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18     Page 42 of 54 PageID #: 42




                  (9)    Al Islah Charitable Society – at least 32 transfers totaling $1,168,066
                         including 15 transfers that were processed by Arab Bank’s New York
                         Branch

                  (10)   Al-Tadamun Charitable Society – Nablus – at least 48 transfers totaling
                         $648,395 including 16 transfers that were processed by Arab Bank’s New
                         York Branch.

                  2.     Palestinian Islamic Jihad

           246.   PIJ knowingly, willfully, and unlawfully combined, conspired, confederated, and

 agreed together to commit numerous acts of international terrorism and other related criminal

 activity, including murder, attempted murder, solicitation to commit murder and providing material

 support to Foreign Terrorist Organizations in violation of the federal criminal code of the United

 States.

           247.   For example, the organization has committed numerous terrorist attacks, including

 several that have killed and injured American citizens. During the Second Intifada, PIJ has

 conducted and taken credit for at least twenty-eight (28) murderous attacks, including at least seven

 (7) mass murder attacks that have killed at least ninety-five (95) civilians, including U.S. citizens

 such as Shoshana Ben-Yishai who was murdered on November 4, 2001 by a PIJ terrorist.

           248.   As noted above, President Clinton issued Executive Order No. 12947 on January

 23, 1995. Executive Order No. 12947 designated PIJ an SDT.

           249.   On October 8, 1997, PIJ was designated an FTO by the U.S. Government under the

 AEDPA. The designation has since been renewed every two years, including in 2003.

           250.   In 2001, pursuant to Executive Order 13224, PIJ was designated an SDGT.

                  3.     The Al Aqsa Martyrs Brigade ("AAMB")

           251.   Fatah was (and remains) the dominant political faction within the PA and the PLO.

           252.   Tanzim is one of the armed factions within Fatah.



                                                  42
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18     Page 43 of 54 PageID #: 43




           253.   Al Aqsa Martyrs Brigade (“AAMB”) emerged at the outset of the Second Intifada

 as a deniable arm of Fatah that could compete with HAMAS and PIJ as a terror organization with

 a more Islamic flavor than Fatah’s typically nationalist organizations.

           254.   AAMB knowingly, willfully, and unlawfully combined, conspired, confederated

 and agreed together to commit numerous acts of international terrorism and other related criminal

 activity, including murder, attempted murder, solicitation to commit murder and providing material

 support to Foreign Terrorist Organizations in violation of the federal criminal code of the United

 States.

           255.   For example, the organization has committed numerous terrorist attacks, including

 several that have killed and injured Americans citizens. Since September 2000, AAMB has

 conducted and taken credit for dozens of murderous attacks, including a pair of January 2003

 suicide bombings in downtown Tel Aviv that killed twenty-three (23) people and injured

 approximately one hundred (100) others and a string of other attacks that have killed more than

 seventy (70) civilians and wounded more than five hundred (500) others.

           256.   In 2001, pursuant to Executive Order 13224, AAMB was designated an SDGT.

           257.   On March 21, 2002, the Secretary of State of the United States officially designated

 AAMB an FTO.

           258.   During the relevant period, Fatah maintained an account with Arab Bank in

 Amman, Jordan and many members of its terror cells (Tanzim, Ahmad Abu al-Rish Brigades,

 AAMB) received payments through Arab Bank from Hezbollah (al-Ansar) and/or the Saudi

 Committee.




                                                   43
Case 1:18-cv-02192-HG-PK           Document 1        Filed 04/13/18    Page 44 of 54 PageID #: 44




         259.    For example, Abu al-Jadyan was Fatah’s Secretary General in the northern Gaza

 Strip, a Colonel in the Palestinian Presidential Security Force (Force 17) and one of the founders

 of AAMB in Gaza. In May 2001, he directly received a Saudi Committee prisoner payment.

         260.    Zuheir Muhammad As’ad Istiti was a senior operative of AAMB who was involved

 in a number of terror attacks. His family received payments from both the Saudi Committee

 (through Arab Bank’s Jenin branch) and the Shahid Foundation, through Arab Bank’s accounts

 for al-Ansar.

         261.    Arab Bank knowingly provided financial services to AAMB. For example, Munir

 al-Maqdah, also known as Abu Hasan, transferred between $40,000 and $50,000 for weapons,

 expenses, and bomb-making materials to the Arab Bank account of Nasser Aweis, a senior Fatah

 operative, and instructed him to report back by telephone on the success of his attacks, such as the

 January 17, 2002 assault on the Hadera banquet hall that resulted in the death of U.S. citizen

 Aharon Ben-Yisrael Ellis.

         262.    Tamer Rasem al-Rimawi was an AAMB operative responsible for a May 28, 2003

 terrorist attack.

         263.    He later stated that in early 2001 he:

                 received a telephone call from an officer at the Arab Bank in Ramallah,
                 indicating that I should come to the Bank branch in Ramallah because they
                 had money for me from the Saudi funds as a result of my first injury and
                 hospitalization. I didn’t know the bank officer and had no account at the
                 Arab Bank. But I went to the bank because everyone knew that if you were
                 injured while participating in operations against Israel you would get
                 money, and if you were killed then your family would get money. When I
                 went to the bank I met with a bank officer who gave me a check from the
                 Arab Bank in the amount of $1330.00 US dollars. I was told the money was
                 because I was injured during an operation throwing stones; I signed the
                 check which was not a check from a charity but actually a check on the
                 account of the Arab Bank, and I was given $1330.00 in the US dollars at
                 the Arab Bank.




                                                   44
Case 1:18-cv-02192-HG-PK               Document 1    Filed 04/13/18     Page 45 of 54 PageID #: 45




           264.   Tamer Rasem al-Rimawi was paid $1,325.64 through Arab Bank’s branch in

 Ramallah.

           265.   Numerous other AAMB operatives received payments through Arab Bank,

 including Umar Abd al-Fatah Hafez Yasin, Abd al-Rahman Muhammad Abu Bakra, Alaa Suliman

 Hussein Abu Bakra, Sami Jawdat Barbakh, Rami Ismail Ali Alyan and many others.

                  4.     The Popular Front for the Liberation of Palestine (“PFLP”)

           266.   The Popular Front for the Liberation of Palestine was founded in the late 1960s

 under the leadership of George Habash, its general secretary.

           267.   The PFLP was guided by a crude form of Marxism-Leninism and, together with

 other left-wing Palestinian organizations, claimed to be struggling to build a working-class party.

           268.   During the Second Intifada, the PFLP tried to remain politically relevant by joining

 in attacks against Israeli targets.

           269.   Senior leaders of the PLFP received Saudi Committee payments through Arab Bank

 branches.

           270.   For example, Abd al-Rahman Nayef Yusuf al-Salibi, a member of PFLP’s Central

 Committee, directly received a Saudi Committee prisoner payment through Arab Bank’s Gaza

 branch.

           271.   Ahmad Abu al-Sa’ud Abd al-Razaq Hanani, another member of PFLP’s Central

 Committee, received a Saudi Committee prisoner payment through Arab Bank’s Nablus branch in

 2001.

           272.   Salah Abd Rabo Muhammad Abu al-Jadya and Hasan Mahmud Hasan Labad,

 prominent PFLP terrorists imprisoned for more than a decade for their terrorist activities, directly

 received Saudi Committee prisoner payments through Arab Bank’s Gaza branch.




                                                    45
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18     Page 46 of 54 PageID #: 46




        273.      In addition to the family of the suicide bomber who killed and injured numerous

 victims on February 16, 2002 at the pizzeria in Karnei Shomron, including Hillel Trattner, Arab

 Bank facilitated Saudi Committee payments to numerous other PLFP operatives including Hamza

 Nayef Hasan Zayed, Ayman Muhammad Fayiq Jalad and Jamil Khamis Muhammad Tarkhan.

        D.        Defendant Arab Bank Provided Material Support To Other Foreign Terrorist
                  Organizations

        274.      PIJ has established numerous front organizations, including:

                 i.      Al-Ihsan Charitable Society;

                ii.      Dar al-Huda Society; and

               iii.      Islamic An-Naqqa Society for Women, Bethlehem.

        275.      Arab Bank knowingly maintained accounts for Al-Ihsan Charitable Society

 including its Al-Ihsan’s branch in Gaza (Account No. 100379-8-500) and its branch in Bethlehem

 in USD (Account No. 717520-1-510), Israeli Shekel (Account No. 717520-1-570) and Jordanian

 Dinar (Account No. 717520-1-500).

        276.      On May 4, 2005 the U.S. Government designated Al-Ihasn an SDGT. According

 to the press release announcing the designation, “Elehssan cooperated with PIJ to distribute funds

 to the families of PIJ prisoners and deceased members …. Elehssan maintains lists of PIJ-

 associated families who are to receive compensation – including the families of PIJ suicide

 bombers.”

        277.      Arab Bank also knowingly maintained accounts for Dar al-Huda Society in USD

 (Account No. 16782/7/510), Israeli Shekel (Account No. 16782/7/570) and Jordanian Dinar

 (Account No. 16782/7/500).




                                                  46
Case 1:18-cv-02192-HG-PK              Document 1          Filed 04/13/18         Page 47 of 54 PageID #: 47




        E.      The Iranian Program in Support of the Martyrs

        278.    The Saudi Committee was not the only organization that supported and funded the

 Second Intifada. There were also other organizations that transferred money in direct support of

 the families of “martyrs” and prisoners, aiming at strengthening and encouraging the Palestinians

 to continue the violence. Among these organizations were the Arab Liberation Front (“ALF”),

 which operated in the Palestinian Territories (on behalf of the Iraqi dictator Saddam Hussein) and

 the Lebanon-based Shahid Foundation, which was funded by Iran and operated in the Palestinian

 Territories in cooperation with the Gaza-based al-Ansar society.6

        279.    The Shahid Foundation in Lebanon was designated by the U.S. Government on July

 24, 2007 as an SDGT.

        280.    The U.S. Treasury Department noted at the time that:
                The Martyrs Foundation is an Iranian parastatal organization that channels
                financial support from Iran to several terrorist organizations in the Levant,
                including Hizballah, Hamas, and the Palestinian Islamic Jihad (PIJ). To this
                end, the Martyrs Foundation established branches in Lebanon staffed by
                leaders and members of these same terrorist groups. Martyrs Foundation
                branches in Lebanon has also provided financial support to the families of
                killed or imprisoned Hizballah and PIJ members, including suicide bombers
                in the Palestinian territories.

        281.    The Shahid Foundation in Lebanon used the al-Ansar Society to distribute martyr

 payments on behalf of Iran through its Arab Bank accounts.

        282.    On May 15 and 16, 2001 the Palestinian daily Al-Hayat Al-Jadida published an

 announcement signed by al-Ansar, which called families of martyrs that resided in the Gaza Strip

 to arrive at the society’s offices (indicating its address in Gaza) in order to receive their money.

 Families of martyrs from the West Bank were asked to send to a mail box in Gaza copies of official

 documents, which proved their status as martyrs’ families, so that they could receive their money.


 6
        Al-Ansar was designated an “illegal association” in Israel on October 24, 2003.


                                                       47
Case 1:18-cv-02192-HG-PK            Document 1        Filed 04/13/18       Page 48 of 54 PageID #: 48




         283.    On July 1, 2001, Al-Hayat Al-Jadida published an announcement signed by al-

 Ansar calling on the residents of the southern Gaza Strip to come and collect their due payments

 in al-Ansar’s offices in Gaza. Residents of the West Bank, as well as the northern Gaza Strip, were

 asked to arrive at the Arab Bank branch in which their account was managed in order to collect

 their funds.

         284.    The documents the martyrs’ families from the West Bank had to provide, included

 the martyr’s identification card and his picture (if they had it), the beneficiary’s identification card,

 a copy of the death certificate, and a copy of the birth certificate of the martyr’s sons if they had

 them.

         285.    On its website, al-Ansar also identified its accounts with Arab Bank’s Al-Rimal

 branch in Gaza. The website also expressed its goals explicitly:

                 Al-Ansar opens its doors to the families of martyrs who seek it in order to
                 register their martyrs, who, with their noble blood, have watered the pure
                 soil of Palestine, drawing thereby the features and portrait of the coming
                 freedom and the coming dawn. Al-Ansar follows their path and shares with
                 their families and their parents the grief, the burden and the hope.

         286.    On its internet website, the Shahid Foundation was even more direct by publishing

 lists of Palestinian “martyrs” who received support from the foundation.

         287.    Its lists were in some ways more detailed than the Saudi Committee’s lists (both

 those which were published on the Saudi Committee’s website and those which were sent to Arab

 Bank) and included the dates of the martyr’s birth and death, as well as his organizational

 affiliation (Fatah, HAMAS, PIJ, and the PFLP) or a statement, according to which the “martyr”

 was allegedly a civilian, who was purportedly not involved with one of the terrorist organizations’

 activities.

         288.    The Shahid Foundation’s web site listed various beneficiaries:




                                                    48
Case 1:18-cv-02192-HG-PK          Document 1       Filed 04/13/18      Page 49 of 54 PageID #: 49




               “Martyr #1” in the January 2002 list, Muhammad Abd al-Ghani Muhammad Abu
                Jamus, is listed as a member of HAMAS in Gaza. HAMAS’ web site confirms that
                he was indeed affiliated with HAMAS. It also confirms his date of death. In
                addition, the Abu Jamus family received a martyr’s payment from the Saudi
                Committee.

               “Martyr #154” on the March 2002 list, Muhammad Ahmad Hilis, is also listed as
                an Izz al-Din al-Qassam Brigades operative in Gaza / Al-Shuja’iya. HAMAS’
                website confirms this fact, as well as his date of death. His father received a
                martyr’s payment from the Saudi committee on June 6, 2002.

               “Martyr #153” on the same list, Bilal Fayez Mustafa Shehada, is also identified as
                an Izz al-Din al-Qassam Brigades operative. Bilal is a resident of Beit Hanun, who
                was killed along with Muhammad Ahmad Hilis on the same date and during the
                same attack. His father received a martyr’s payment from the Saudi Committee on
                June 6, 2002.

        289.    The Shahid Foundation, through al-Ansar, also paid numerous Fatah terrorists,

 including those affiliated with AAMB, such as Abd al-Karim Umar Abu Na’isa, who committed

 a terrorist attack in Afula, Israel in November 2001. Abu Na’isa’s family received payments from

 the Shahid Foundation, the Saudi Committee and the ALF.

        290.    Arab Bank’s branches played a central and important role in transferring money on

 behalf of Iran – through the Shahid Foundation and al-Ansar society.

        291.    The activities of al-Ansar were also the target of Israeli counter-terrorism measures

 in two ways. First, al-Ansar was declared an “unlawful association” by Israel on October 25, 2003.

 Second, its account was targeted by the Israeli security forces when they raided bank branches in

 Ramallah in 2004 (including Arab Bank). In fact, on its website, al-Ansar publicly denounced

 these measures:

                Al-Ansar Charitable Society denounces and condemns the criminal, sinful
                attacks of insane piracy committed by the forces of the occupation against
                the Palestinian banks in the city of Ramallah, which robbed the banks’
                money that included, inter alia, the money of the martyrs who are sponsored
                by the society.




                                                 49
Case 1:18-cv-02192-HG-PK            Document 1       Filed 04/13/18       Page 50 of 54 PageID #: 50




                                       CLAIMS FOR RELIEF

                                    FIRST CLAIM FOR RELIEF

            AIDING AND ABETTING FOREIGN TERRORIST ORGANIZATIONS
                        IN VIOLATION OF 18 U.S.C. § 2333(d)

         292.     Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

 as if fully set forth herein.

         293.     Plaintiffs were all injured by acts of international terrorism as defined by 18 U.S.C.

 § 2331.

         294.     Plaintiffs injured in the Ben Yehuda Street Bombings – December 1, 2001 and the

 Karnei Shomron Pizzeria Bombing – February 16, 2002 assert claims under 18 U.S.C. § 2333(d)

 predicated on Arab Bank having aided and abetted acts of international terrorism perpetrated by

 HAMAS and the PFLP (both FTOs at the time of the respective attacks).

         295.     Arab Bank provided substantial assistance to those FTOs by transferring significant

 sums of money to those organizations and their operatives and maintaining bank accounts for its

 organizations and senior operatives, knowing that the two FTOs were so designated or knowing

 that they engaged in terrorism and knowing the severity of the wrongful acts committed by these

 organizations and their operatives.

         296.     Arab Bank’s acts were a substantial factor in causing those Plaintiffs’ injuries, and

 those Plaintiffs’ injuries were a foreseeable result of the significant sums of money Arab Bank

 provided to those FTOs, their leaders and operatives.

           297.   Plaintiffs allege that Arab Bank aided and abetted those FTOs within the meaning

 of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d 472

 (D.C. Cir. 1983), which Congress has found to provide “civil litigants with the broadest possible

 basis” for relief against those “that have provided material support, directly or indirectly, to foreign



                                                   50
Case 1:18-cv-02192-HG-PK           Document 1       Filed 04/13/18       Page 51 of 54 PageID #: 51




 organizations or persons that engage in terrorist activities against the United States.” See Justice

 Against Sponsors of Terrorism Act (“JASTA”), §2b.

                                  SECOND CLAIM FOR RELIEF

                   PROVIDING MATERIAL SUPPORT TO TERRORISTS
                IN VIOLATION OF 18 U.S.C. § 2339A AND 18 U.S.C. § 2333(a)

         298.    Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

 as if fully set forth herein.

         299.    The extraordinary financial and administrative services that Arab Bank knowingly

 provided to the terrorists, their families, and HAMAS, Fatah/AAMB and PFLP, including serving

 as the exclusive administrator of the Saudi Committee payments program provided material

 support to the preparation and carrying out of numerous acts of international terrorism which have

 caused direct injury to Plaintiffs.

         300.    That knowing support was a substantial and foreseeable factor in causing Plaintiffs’

 injuries.

         301.    As set forth more fully above, but for Arab Bank’s assistance, the funding of the

 Saudi Committee and Shahid Foundation payment programs for terrorists and the families of

 terrorists would have been substantially more difficult to implement.

         302.    By participating in the commission of violations of 18 U.S.C. § 2339A that have

 caused each of the Plaintiffs to be injured in his or her person, Defendant Arab Bank committed

 acts of international terrorism and is liable pursuant to 18 U.S.C. § 2333(a) because its conduct

 involved violent acts or acts dangerous to human life that were a violation of the criminal laws of

 the United States and in so doing the Bank’s conduct objectively appeared to be intended to

 intimidate or coerce the civilian population of Israel and influence the policy of the Israeli

 government by intimidation or coercion, and its conduct transcended national boundaries in terms



                                                  51
Case 1:18-cv-02192-HG-PK            Document 1       Filed 04/13/18     Page 52 of 54 PageID #: 52




 of the means by which they were accomplished.

                                   THIRD CLAIM FOR RELIEF

                 COMMITTING ACTS OF INTERNATIONAL TERRORISM
              IN VIOLATION OF 18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)

         303.    Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

 as if fully set forth herein.

         304.    By participating in the commission of violations of 18 U.S.C. § 2339B that have

 caused each of the Plaintiffs to be injured in his or her person, Defendant Arab Bank committed

 acts of international terrorism and is liable pursuant to 18 U.S.C. § 2333(a) because its conduct

 involved violent acts or acts dangerous to human life that were a violation of the criminal laws of

 the United States and in so doing the Bank’s conduct objectively appeared to be intended to

 intimidate or coerce the civilian population of Israel and influence the policy of the Israeli

 government by intimidation or coercion, and its conduct transcended national boundaries in terms

 of the means by which they were accomplished.

         305.    Arab Bank knowingly provided HAMAS and the PFLP with material support as it

 is defined in 18 U.S.C. § 2339A and in so doing its conduct was a substantial and foreseeable

 factor in causing Plaintiffs’ injuries and thereby making it liable to the Plaintiffs under 18 U.S.C.

 § 2333(a).


                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray that this Court:

                 (a)      Accept jurisdiction over this action;

                 (b)      Enter judgment against Arab Bank and in favor of each Plaintiff for

 compensatory damages in amounts not less than those set forth herein and additional sums in




                                                   52
Case 1:18-cv-02192-HG-PK         Document 1         Filed 04/13/18     Page 53 of 54 PageID #: 53




 amounts to be determined at trial;

                (c)    Enter judgment against Arab Bank and in favor of each Plaintiff for treble

 damages pursuant to 18 U.S.C. § 2333(a);

                (d)    Enter judgment against Arab Bank and in favor of each Plaintiff for any and

 all costs sustained in connection with the prosecution of this action, including attorneys’ fees,

 pursuant to 18 U.S.C. § 2333(a); and

                (e)    Grant such other and further relief as justice requires.

 PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.


 Dated: April 13, 2018
        Hackensack, NJ


                                                      OSEN LLC


                                              By:     /s/ Gary M. Osen
                                                      Gary M. Osen, Esq.
                                                      Ari Ungar, Esq.
                                                      Peter Raven-Hansen, Esq., Of Counsel
                                                      Aaron Schlanger, Esq.
                                                      2 University Plaza, Suite 402
                                                      Hackensack, New Jersey 07601
                                                      (201) 265-6400

                                                      ZUCKERMAN SPAEDER LLP
                                                      Shawn P. Naunton, Esq.
                                                      485 Madison Avenue, 10th Floor
                                                      New York, NY 10022
                                                      (646) 746-8655

                                                      TURNER & ASSOCIATES, P.A.
                                                      C. Tab Turner, Esq.
                                                      4705 Somers Avenue, Suite 100
                                                      North Little Rock, AR 72116
                                                      (501) 791-2277




                                                 53
Case 1:18-cv-02192-HG-PK   Document 1    Filed 04/13/18       Page 54 of 54 PageID #: 54




                                             KOHN, SWIFT & GRAF, P.C.
                                             Steven M. Steingard, Esq.
                                             Stephen H. Schwartz, Esq.
                                             Neil L. Glazer, Esq.
                                             One South Broad Street, Suite 2100
                                             Philadelphia, PA 19107
                                             (215) 238-1700

                                             Attorneys for Plaintiffs




                                        54
